                           Case 4:16-cv-06506-YGR Document 60 Filed 01/12/18 Page 1 of 3



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                13       Attorneys for Plaintiff
                         THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
                14

                15                                UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF CALIFORNIA
                16                                     OAKLAND DIVISION

                17

                18       THE REGENTS OF THE UNIVERSITY          Case No. 4:16-cv-06506-YGR
                         OF CALIFORNIA, a California            ORDER GRANTING
                19       Corporation,                           JOINT STIPULATION REGARDING
                                                                VOLUNTARY DISMISSAL OF
                20                       Plaintiff,             PLAINTIFF’S CLAIMS FOR RELIEF
                                                                AGAINST ATRICURE, INC. WITH
                21             v.                               PREJUDICE

                22       ATRICURE, INC., a Delaware
                         Corporation,
                23
                                         Defendant.
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  C ROWELL                                                                               JOINT STIPULATION RE
& M ORING LLP
                                                                                    DISMISSAL WITH PREJUDICE;
ATTO RNEY S AT LAW
                                                                                     CASE NO. 4:16-cv-06506-YGR
                           Case 4:16-cv-06506-YGR Document 60 Filed 01/12/18 Page 2 of 3



                     1          Plaintiff The Regents of the University of California (“The Regents”) and Defendant

                     2   AtriCure, Inc. (“AtriCure”), by and through their respective undersigned counsel, file this Joint

                     3   Stipulation Regarding Voluntary Dismissal of Plaintiff’s Claims for Relief Against Atricure, Inc.,

                     4   With Prejudice, and stipulate and agree as follows:

                     5          1.         The Regents and AtriCure have settled this case. As part of their settlement

                     6   agreement, all parties who have appeared in this action (i.e., The Regents and AtriCure) have

                     7   jointly agreed that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the instant

                     8   proceeding shall be dismissed, with prejudice, and that each party shall bear its own attorneys’

                     9   fees and costs.

                10              IT IS SO STIPULATED, through Counsel of Record.

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                12       DATED: January 5, 2018                      CROWELL & MORING LLP

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                14
                                                                     By: /s/ Mark T. Jansen
                15                                                        Mark T. Jansen
                                                                          Kathryn L. Clune
                16                                                        Pilar R. Stillwater
                                                                          Ali H.K. Tehrani
                17                                                        Molly A. Jones
                18                                                        Galen P. Sallomi
                                                                         Attorneys for Plaintiff
                19                                                       THE REGENTS OF THE
                                                                         UNIVERSITY OF CALIFORNIA
                20
                21       DATED: January 5, 2018                      PEPPER HAMILTON LLP
                22

                23
                                                                     By: /s/ Maia H. Harris
                24                                                       Maia H. Harris
                                                                         Attorney for Defendant
                25
                                                                         ATRICURE, INC.
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  C ROWELL                                                                                                JOINT STIPULATION RE
& M ORING LLP
ATTO RNEY S AT LAW
                                                                          -2-                        DISMISSAL WITH PREJUDICE;
                                                                                                      CASE NO. 4:16-cv-06506-YGR
                           Case 4:16-cv-06506-YGR Document 60 Filed 01/12/18 Page 3 of 3



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                     3   Pursuant to the stipulation of the parties, IT IS SO ORDERED.

                     4
                         This action is DISMISSED.
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                     7   Dated: January 12, 2018
                     8                                                     YVONNE GONZALEZ ROGERS
                                                                           UNITED STATES DISTRICT JUDGE
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  C ROWELL                                                                                    JOINT STIPULATION RE
& M ORING LLP
ATTO RNEY S AT LAW
                                                                     -3-                 DISMISSAL WITH PREJUDICE;
                                                                                          CASE NO. 4:16-cv-06506-YGR
